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UNITED STATES BANKRUPTCY COURT
Southern District of Texas
PDF FILE WITH AUDIO FILE ATTACHMENT

      2022-60020
      InfoW, LLC and IWHealth, LLC



      Case Type :                    bk
      Case Number :                  2022-60020
      Case Title :                   InfoW, LLC and IWHealth, LLC

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